Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.136 Page 1 of 25



   1   ROB BONTA
       Attorney General of California
   2   R. MATTHEW WISE
       Supervising Deputy Attorney General
   3   JANE REILLEY
       Deputy Attorney General
   4   KATRINA UYEHARA
       Deputy Attorney General
   5   State Bar No. 349378
        1300 I Street, Suite 125
   6    P.O. Box 944255
        Sacramento, CA 94244-2550
   7    Telephone: (916) 210-7867
        Fax: (916) 324-8835
   8    E-mail: Katrina.Uyehara@doj.ca.gov
       Attorneys for Defendant Rob Bonta, in his
   9   official capacity as Attorney General of the
       State of California
 10
                         IN THE UNITED STATES DISTRICT COURT
 11
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14
 15    KNIFE RIGHTS, INC., ELIOT                   3:23-cv-00474-JES-DDL
       KAAGAN, JIM MILLER,
 16    GARRISON HAM, NORTH
       COUNTY SHOOTING CENTER,
 17    INC., and PWGG L.P.,                       MEMORANDUM OF POINTS AND
                                                  AUTHORITIES IN SUPPORT OF
 18                                   Plaintiffs, DEFENDANT ATTORNEY
                                                  GENERAL ROB BONTA’S
 19                 v.                            MOTION FOR SUMMARY
                                                  JUDGMENT
 20
       CALIFORNIA ATTORNEY                      Date:          April 22, 2024
 21    GENERAL ROB BONTA,                       Time:          10:00 a.m.
                                                Dept:          4B
 22                                  Defendant. Judge:         The Honorable James E.
                                                               Simmons, Jr.
 23                                                Trial Date: None set
                                                   Action Filed: March 15, 2023
 24
 25
 26
 27
 28

                Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.137 Page 2 of 25



   1                                          TABLE OF CONTENTS
   2
                                                                                                                       Page
   3   INTRODUCTION ..................................................................................................... 1
   4   BACKGROUND ....................................................................................................... 2
       PROCEDURAL HISTORY ...................................................................................... 3
   5   LEGAL STANDARD ............................................................................................... 4
   6   ARGUMENT ............................................................................................................. 4
   7       I.   Plaintiffs Cannot Meet Their Burden of Establishing That the
                Challenged Statutes Implicate the Second Amendment’s Plain
   8            Text ....................................................................................................... 5
                A.      The Switchblade Knives Regulated by the Challenged
   9                    Statutes Are Not Commonly Used or Suitable for Self-
                        Defense ....................................................................................... 6
 10             B.      The Switchblade Knives Regulated by the Challenged
 11                     Statutes Are Dangerous and Unusual ......................................... 9
           II.  The Challenged Statutes Are Consistent with the Nation’s
 12             Historical Tradition of Regulating Similar Weapons ......................... 11
 13             A.      The Challenged Statutes Fit Comfortably Within a Long
                        Tradition of Regulating of Bowie Knives, Impact
 14                     Weapons, and Other Dangerous and Deadly Weapons............ 12
                B.       The Surveyed Restrictions Are Relevantly Similar to
 15                     California’s Switchblade Restrictions ...................................... 17
 16    CONCLUSION........................................................................................................ 19

 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                  i
                    Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.138 Page 3 of 25



   1                                          TABLE OF AUTHORITIES
   2
                                                                                                                             Page
   3   CASES
   4   Aymette v. State
   5     21 Tenn. 152 (Tenn. 1840) ................................................................................. 14
   6   Barrios v. Holder
   7     581 F.3d 849 (9th Cir. 2009) .............................................................................. 10

   8   Brumback v. Ferguson
          No. 1:22-CV-03093-MKD, 2023 WL 6221425 (E.D. Wash. Sept.
   9
          25, 2023) ............................................................................................................... 5
 10
       Craft v. U.S.
 11      403 F.2d 360 (9th Cir. 1968) .............................................................................. 10
 12
       Crowlery Cutlery Co. v. U.S.
 13      849 F.2d 273 (7th Cir. 1988) .............................................................................. 10
 14    District of Columbia v. Heller
 15       554 U.S. 570 (2008) .................................................................................... passim
 16    Fall v. Esso Standard Oil Co.
          297 F.2d 411 (5th Cir. 1961) .............................................................................. 10
 17
 18    Frlekin v. Apple, Inc.
          979 F.3d 639 (9th Cir. 2020) ................................................................................ 4
 19
       Fyock v. Sunnyvale
 20
         779 F.3d 991 (9th Cir 2015) ............................................................................... 10
 21
       Haynes v. Tennessee
 22      24 Tenn. 120 (Tenn. 1844) ................................................................................. 14
 23
       In re Gilbert R
 24        211 Cal. App. 4th 514 (Cal. Ct. App. 2012) ................................................ 1, 3, 8
 25    In re S.C.
 26        179 Cal. App. 4th 1436 (Cal. Ct. App. 2009) .................................................... 11
 27    McDonald v. City of Chicago
 28      561 U.S. 742 (2010) ............................................................................................. 6
                                                                     ii
                    Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.139 Page 4 of 25



   1                                       TABLE OF AUTHORITIES
   2                                             (continued)
                                                                                                                     Page
   3   Nat’l Ass’n for Gun Rights v. Lamont
   4     __ F. Supp. 3d. __ (D. Conn. Aug. 3, 2023) ...................................................... 10

   5   New York State Rifle & Pistol Ass’n, Inc. v. Bruen
         597 U.S. 1 (2022) ........................................................................................ passim
   6
   7   People ex rel. Mautner v. Quattrone
         211 Cal. App. 3d 1389 (Cal. Ct. App. 1989)...................................................... 18
   8
       S.D. Myers, Inc. v. City & County of San Francisco
   9
          253 F.3d 461 (9th Cir. 2001) ................................................................................ 4
 10
       Teter v. Connors
 11       459 F. Supp. 3d 989 (D. Haw. 2020) ................................................................. 10
 12
       Teter v. Lopez
 13       2024 WL 719051 (9th Cir. Feb. 2, 2024) ........................................................... 10
 14    Teter v. Lopez
 15       76 F.4th 938 (9th Cir. 2023) ............................................................................... 10
 16    U.S. v. Alaniz
          69 F.4th 1124 (9th Cir. 2023) ............................................................................... 6
 17
 18    U.S. v. Olloque
          580 Fed. Appx. 584 (9th Cir. 2014) ................................................................... 11
 19
       U.S. v. Salcedo
 20
          452 F.2d 1201 (9th Cir. 1971) ............................................................................ 10
 21
       United States v. Miller
 22      307 U.S. 174 (1939) ......................................................................................... 6, 7
 23
       United States v. Salerno
 24      481 U.S. 739 (1987) ............................................................................................. 4
 25    Wa. State Grange v. Wa. State Republican Party
 26      552 U.S. 442 (2008) ............................................................................................. 4
 27
 28
                                                                iii
                   Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.140 Page 5 of 25



   1                                          TABLE OF AUTHORITIES
   2                                                (continued)
                                                                                                                              Page
   3   STATUTES
   4   California Penal Code
   5      § 653k ................................................................................................................... 2
          § 17235 ........................................................................................................ passim
   6
          § 21510 ........................................................................................................ passim
   7      § 21510, subds. (a)-(c) .......................................................................................... 3
          § 21590 ........................................................................................................ passim
   8
   9   COURT RULES

 10    Federal Rules of Civil Procedure
          Rule 56 .................................................................................................................. 4
 11
          Rule 56(a) ............................................................................................................. 4
 12
       OTHER AUTHORITIES
 13
       4 Blackstone, Commentaries on the Laws of England 148 (1769) ......................... 10
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                     iv
                     Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.141 Page 6 of 25



   1                                    INTRODUCTION
   2        Over sixty-five years ago, amid a proliferation of crimes committed with
   3   switchblade knives, California enacted a law making it a misdemeanor to publicly
   4   possess, carry, sell, loan, or transfer a switchblade knife (1) with a blade of two or
   5   more inches in length, which (2) does not have a detent 1 or similar safety
   6   mechanism. Cal. Penal Code §§ 17235, 21510. A few years later, California defined
   7   “the unlawful possession or carrying of any switchblade knife” as a nuisance,
   8   allowing such knives to be confiscated by law enforcement. Id. § 21590.
   9        Plaintiffs bring a facial challenge to each of the three statutes identified above.
 10    Plaintiffs’ Second Amendment claim fails at both steps of the text-and-history
 11    analysis set forth in New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1
 12    (2022). Plaintiffs cannot meet their burden of establishing that their proposed
 13    course of conduct—publicly possessing, carrying, selling, loaning, or transferring
 14    switchblade knives with blades two inches in length or longer—is protected by the
 15    plain text of the Second Amendment. Because Plaintiffs cannot show that
 16    switchblade knives with blades two inches or longer are commonly used for lawful
 17    self-defense, and such weapons are dangerous and unusual, they have not satisfied
 18    Bruen’s threshold inquiry.
 19         Moreover, even if Plaintiffs were able to meet their burden at Bruen’s textual
 20    step, their claims would nonetheless fail at Bruen’s second step because the
 21    challenged laws are “consistent with the Nation’s historical tradition of firearm
 22    regulation,” and thus are constitutional. Bruen, 597 U.S. at 24. States and localities
 23    have long exercised their police powers to enact restrictions when a new weapon
 24    technology—like the switchblade and its historical predecessors—is invented,
 25    begins to proliferate in society, and causes public concern. Here, there is a well-
 26          1
                A “detent” is “‘a device . . . for positioning and holding one mechanical part
 27    in relation to another in a manner such that the device can be released by force
       applied to one of the parts.’” In re Gilbert R, 211 Cal. App. 4th 514, 518 (Cal. Ct.
 28    App. 2012) (quoting Merriam-Webster definition of “detent”).
                                                  1
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.142 Page 7 of 25



   1   established historical tradition of regulating the possession and carry of bladed and
   2   dangerous weapons dating back to the antebellum era. California’s regulations on
   3   switchblade knives with blades two inches or longer fit comfortably within this
   4   historical tradition.
   5        Because there are no triable issues of material fact as to the constitutionality of
   6   the challenged laws, this Court should enter judgment for Defendant.
   7                                     BACKGROUND
   8        The laws challenged by Plaintiffs—Penal Code sections 17235, 21510, and
   9   21590—have been operative for over half a century. 2 Although Plaintiffs refer to
 10    this statutory scheme as a “Knife Ban,” ECF No. 1 (Complaint) at ¶ 3, this
 11    characterization is belied by the plain language of the provisions. Far from banning
 12    all switchblade knives—much less all knives—California law merely places
 13    reasonable restrictions on certain types of switchblade knives with blades that are
 14    two inches in length or longer.
 15         Penal Code section 17235 defines “switchblade knife” as follows:
 16         “[S]witchblade knife” means a knife having the appearance of a
            pocketknife and includes a spring-blade knife, snap-blade knife, gravity
 17         knife, or any other similar type knife, the blade or blades of which are
            two or more inches in length and which can be released automatically
 18         by the flick of a button, pressure on the handle, flip of the writ or other
            mechanical device, or is released by the weight of the blade or by any
 19         time of mechanism whatsoever. “Switchblade knife” does not include a
            knife that opens with one hand utilizing thumb pressure applied solely to
 20         the blade of the knife or a thumb stud attached to the blade, provided that
            the knife has a detent or other mechanism that provides resistance that
 21         must be overcome in opening the blade, or that biases the blade back
            towards its closed position.”
 22
 23    Cal. Penal Code § 17235 (emphasis added). Section 21510 specifies that taking any
 24    of the following actions with a “switchblade knife” (as defined in section 17235)
 25
 26           2
               These laws were enacted as section 653k of the California Penal Code.
 27    Section 653k included both the definition of “switchblade” now in section 17235,
       and the restrictions on possession, carrying, sale, loan or transfer in section 21510.
 28    Def. Ex. 1 (AB 202 – Legislative History Summary).
                                                  2
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.143 Page 8 of 25



   1   constitutes a misdemeanor: (a) possessing the knife “in the passenger’s or driver’s
   2   area of any motor vehicle in any public place or in any place open to the public;
   3   (b) carrying the knife upon one’s person; and (c) selling, offering or exposing for
   4   sale, loaning, transferring, or gifting the knife to any person. Id. § 21510, subds.
   5   (a)-(c). Section 21590 defines the unlawful possession or carrying of any
   6   “switchblade knife” in violation of section 21510 as a “nuisance,” allowing law
   7   enforcement officers to confiscate such weapons. Id. § 21590. 3
   8        Thus, the challenged Penal Code provisions do not ban automatic knives
   9   outright. The statutory scheme places no restrictions on any knives with blades
 10    shorter than two inches in length. It does not implicate any knife—regardless of
 11    blade length—with a “detent or other mechanism that provides resistance that must
 12    be overcome in opening the blade, or biases the blade back towards its closed
 13    position.” Cal. Penal Code § 17235. Knives that may be opened with one hand that
 14    have a detent or similar mechanism, which “serve an important utility to many
 15    knife users, as well as firefighters, EMT personnel, hunters, fishermen, and others,”
 16    are legal in California. In re Gilbert R, 211 Cal. App. 4th 514, 612 (Cal. Ct. App.
 17    2012) (citing Assem. Com. on Public Safety, Analysis of Sen. Bill No. 274 (2001-
 18    2002 Reg. Sess.). Only switchblade knives that (1) have blades two inches in length
 19    or longer and (2) do not have a detent or similar mechanism—which, as explained
 20    below, are not in common use for lawful self-defense—are subject to regulation.
 21                                PROCEDURAL HISTORY
 22         Last year, Plaintiffs—three individuals, two federally licensed firearm
 23    retailers, and Knife Rights, Inc.—filed a complaint against the California Attorney
 24    General for declaratory and injunctive relief, bringing a single claim that California
 25    Penal Code sections 17235, 21510, and 21590 violate their Second Amendment
 26
 27
             3
                Penal Code section 21590 was added in 1963 as an amendment to
       California’s nuisance statute. Def. Ex. 2 (AB 3045 – Legislative History Summary)
 28    at p. 21.
                                                  3
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.144 Page 9 of 25



   1   rights. Having completed discovery, the parties now file dispositive motions.
   2                                   LEGAL STANDARD
   3        Under Federal Rule of Civil Procedure 56, a party is entitled to summary
   4   judgment if the “movant shows that there is no genuine dispute as to any material
   5   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
   6   56(a); see also Frlekin v. Apple, Inc., 979 F.3d 639, 643 (9th Cir. 2020).
   7        Here, Plaintiffs raise facial challenges against Penal Code sections 17235,
   8   21510, and 21590. Facial challenges are “disfavored” because “a ruling of
   9   unconstitutionality frustrates the intent of the elected representatives of the people.”
 10    Wa. State Grange v. Wa. State Republican Party, 552 U.S. 442, 449 (2008). They
 11    are “the most difficult challenge[s] to mount successfully, since the challenger must
 12    establish that no set of circumstances exists under which the [law] would be valid.”
 13    United States v. Salerno, 481 U.S. 739, 745 (1987); see also S.D. Myers, Inc. v.
 14    City & County of San Francisco, 253 F.3d 461, 467 (9th Cir. 2001) (holding the
 15    Ninth Circuit will apply Salerno in facial challenges, except for certain First
 16    Amendment challenges until directed otherwise by the Supreme Court). As shown
 17    below, Plaintiffs cannot meet this high burden.
 18                                         ARGUMENT
 19         In Bruen, the Supreme Court announced a new standard for adjudicating
 20    Second Amendment claims “centered on constitutional text and history.” 597 U.S.
 21    at 22–24. Under this “text-and-history” framework, the Court must first determine
 22    whether Plaintiffs have met their burden of establishing that the “Second
 23    Amendment’s plain text covers” their “proposed course of conduct.” Id. at 24. If the
 24    answer is no, there is no Second Amendment violation. If the answer is yes, “the
 25    Constitution presumptively protects that conduct,” and “[t]he government must then
 26    justify its regulation by demonstrating that it is consistent with the Nation’s
 27    historical tradition of firearm regulation.” Id.
 28
                                                   4
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.145 Page 10 of 25



   1         Bruen also recognized that the Second Amendment is not a “regulatory
   2   straightjacket.” Bruen, 597 U.S. at 30. And Justice Kavanaugh—joined by Chief
   3   Justice Roberts—wrote separately to underscore the “limits of the Court’s
   4   decision.” Id. at 79 (Kavanaugh, J., concurring). Justice Kavanaugh reiterated
   5   Heller’s observation that “the Second Amendment allows a ‘variety’ of [weapons]
   6   regulations” (id. at 80 (quoting Heller, 554 U.S. at 636)) and emphasized that the
   7   non-exhaustive list of “presumptively lawful regulatory measures” set forth in
   8   Heller remain constitutional (id. at 81 (quoting Heller, 554 U.S. at 626–27, 627
   9   n.26)).
  10         Penal Code sections 17235, 21510, and 21590 are constitutional under the
  11   Second Amendment because they satisfy the text-and-history standard set forth in
  12   Bruen. At the outset, the particular subset of switchblade knives that are regulated
  13   under California’s statutory regime are not presumptively protected by the plain
  14   text of the Second Amendment because they are not commonly used for self-
  15   defense and are dangerous and unusual. But even if Plaintiffs could show that the
  16   challenged statutes burden conduct presumptively protected by the Second
  17   Amendment, California’s restrictions should be upheld because they are consistent
  18   with the Nation’s tradition of weapons regulation.
  19   I.    PLAINTIFFS CANNOT MEET THEIR BURDEN OF ESTABLISHING THAT
             THE CHALLENGED STATUTES IMPLICATE THE SECOND AMENDMENT’S
  20         PLAIN TEXT
  21         Plaintiffs cannot demonstrate that the challenged statutes burden any conduct
  22   that is presumptively protected by the Second Amendment. Under the text-and-
  23   history standard for adjudicating Second Amendment claims, the party challenging
  24   a restriction under the Second Amendment must first demonstrate that the law
  25   regulates conduct that is presumptively protected by the Second Amendment.
  26   Bruen, 597 U.S. at 24; see also Brumback v. Ferguson, No. 1:22-CV-03093-MKD,
  27   2023 WL 6221425, at *4 (E.D. Wash. Sept. 25, 2023) (“[I]t is Plaintiffs’ burden to
  28   demonstrate the plain text of the Second Amendment covers conduct prohibited” by
                                                 5
            Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.146 Page 11 of 25



   1   the challenged law). If Plaintiffs cannot meet this burden, then the Court need not
   2   proceed further.
   3        A.   The Switchblade Knives Regulated by the Challenged Statutes
                 Are Not Commonly Used or Suitable for Self-Defense
   4
   5        The Supreme Court has made clear that “the right secured by the Second
   6   Amendment is not unlimited” and does not extend to “a right to keep and carry any
   7   weapon whatsoever in any manner for whatsoever and for whatever purpose.”
   8   Bruen, 597 U.S. at 21 (quoting Heller, 554 U.S. at 629). Rather, the Second
   9   Amendment only protects those weapons that are “‘in common use at the time’ for
  10   lawful purposes like self defense.” Heller, 554 U.S. at 624 (quoting United States v.
  11   Miller, 307 U.S. 174, 179 (1939)); see also Bruen, 597 U.S. at 21 (referencing
  12   whether the subject “weapons [are] ‘in common use’ today for self-defense”
  13   (quoting Heller, 554 U.S. at 627)); see also U.S. v. Alaniz, 69 F.4th 1124, 1129 (9th
  14   Cir. 2023) (recognizing at the threshold stage, courts must consider “whether the
  15   weapon at issue is ‘in common use’ today for self-defense”) (quoting Heller, 554
  16   U.S. at 580). This analysis requires courts to consider the primary use or purpose of
  17   that weapon and its suitability for self-defense. Heller, 554 U.S. at 629.
  18        The specific subset of switchblades that are regulated by the challenged
  19   statutes do not constitute “Arms” protected by the Second Amendment because
  20   they are not commonly used for self-defense. In Heller, McDonald, and Bruen, the
  21   Supreme Court held out “individual self-defense” as “’the central component’ of
  22   the Second Amendment right.” Bruen, 597 U.S. at 29 (quoting McDonald v. City of
  23   Chicago, 561 U.S. 742, 767 (2010), in turn quoting Heller, 554 U.S. at 599). And
  24   while the Court in those three cases invalidated strict laws that effectively
  25   precluded most law-abiding citizens from possessing or carrying all handguns—
  26   “the quintessential self-defense weapon,” Bruen, 597 U.S. at 47 (quoting Heller,
  27   554 U.S. at 629)—the Court reiterated that “the right secured by the Second
  28   Amendment is not unlimited” and does not extend to “a right to keep and carry any
                                                  6
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.147 Page 12 of 25



   1   weapon whatsoever in any manner whatsoever and for whatever purpose,” id. at 21
   2   (quoting Heller, 554 U.S. at 626).
   3        On the contrary, the Second Amendment protects only those weapons that are
   4   “‘in common use at the time’ for lawful purposes like self defense.” Heller, 554
   5   U.S. at 624 (emphasis added) (quoting United States v. Miller, 307 U.S. 174, 179
   6   (1939)). This “important limitation on the right to keep and carry arms,” recognized
   7   in Heller, remains a critical limitation on the Second Amendment following Bruen.
   8   See Bruen, 597 U.S. at 81 (Kavanaugh J., concurring). Here, the record confirms
   9   that the regulated switchblades are not self-defense weapons.
  10        Bruen makes clear that the test for Second Amendment protection of a
  11   particular weapon is common use, not common ownership. See 597 U.S. at 38
  12   (referring to “commonly used firearms for self-defense”) (emphasis added).
  13   Plaintiffs’ bald allegation that “on Plaintiffs’ information and belief, millions of
  14   automatically opening knives have been in common use for many decades,” even if
  15   assumed true, thus fails to establish that these knives are commonly used for self-
  16   defense. ECF No. 1, Complaint at p. 8, ¶33 (emphasis added). Indeed, Plaintiffs do
  17   not provide any evidence that switchblades are in common use for self-defense. Pl.
  18   Knife Rights’ Resp. to Def.’s Interrog., p. 3–4. Sales figures and ownership
  19   statistics are insufficient—even so, Plaintiffs only offer sales estimates. Rather, to
  20   determine whether a weapon is in common use for self-defense, courts must
  21   consider the suitability of the weapon and the actual use of the weapon for self-
  22   defense. See Heller, 554 U.S. at 629 (explaining the “reasons that a citizen may
  23   prefer a handgun for home defense,” including that handguns are easier to store in a
  24   location that is readily accessible in an emergency, are easier to lift and aim than a
  25   long gun, and can be used with a single hand while the other hand dials the police).
  26        As the record in this case clearly establishes, the switchblade knives regulated
  27   by California’s statutory regime are not even suitable for “ordinary self-defense.”
  28   Bruen, 597 U.S. at 60. To begin with, as both Plaintiffs’ and Defendant’s experts
                                                  7
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.148 Page 13 of 25



   1   agree, extensive training is required to use a switchblade knife safely and
   2   effectively for self-defense. Compare Escobar Decl., ¶ 27, 31, 40, with Ex. Janich
   3   3, pp. 33, 36. Training knives—knife models that replicate the actual feel of a knife
   4   but are dull—are often used to train individuals on how to use a knife for self-
   5   defense. Ex. Janich 3, pp. 63. However, very few knife companies produce training
   6   knives for their automatic switchblade knives. Ex. Janich 3, pp. 63. As a result, it
   7   can be difficult to practice using a switchblade for self-defense.
   8        There are also significant psychological barriers to using knives for self-
   9   defense. A self-defense situation involving a switchblade is inherently a close-
  10   combat encounter—one that will likely require the cutting of tissue, ligaments, and
  11   muscles, and result in subsequent blood loss. Escobar Decl., ¶ 34–35; see also Ex.
  12   Janich 3, pp. 34–36 (identifying the quadriceps and median and ulnar nerves as
  13   prime targets for knife self-defense). The nature of such an encounter raises the
  14   significant question whether an ordinary person would be capable of effectively
  15   using a knife for self-defense. Escobar Decl., ¶ 35–36.
  16        Aside from such psychological barriers, switchblades are generally ill-suited
  17   for self-defense. All switchblades store the blade within the handle of the knife.
  18   Both out-the-front and folding knives require the user to seat the knife in their hand
  19   in a certain way to avoid injury upon deployment of the blade. Escobar Decl., ¶ 21.
  20   In addition, users may struggle to disengage the safety on the switchblade or may
  21   accidentally deploy the knife, causing injury to the user. Escobar Decl., ¶ 31–32;
  22   see also In re Gilbert R., 211 Cal. App. 4th at 612 (recognizing that the detent
  23   exception to Penal Code section 21510 is “prudent and a matter of public safety as
  24   [a detent] will ensure the blade will not inadvertently come open”). As a result,
  25   users risk injury and delay in attempting to deploy a switchblade for self-defense.
  26        Switchblade knives must also lock in place in order to be used for self-
  27   defense. This is supposed to happen automatically, but on occasion, these knives
  28   can fail to lock and are rendered effectively unusable. Escobar Decl., ¶ 30. In
                                                  8
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.149 Page 14 of 25



   1   contrast, fixed blade knives must only be unsheathed to be ready to use, and folding
   2   knives without automatic features give their users tactile feedback that the knife has
   3   locked into place. Escobar Decl., ¶ 30. By their very nature, an automatic
   4   switchblade knife consists of more complicated mechanical moving parts that can
   5   fail. Escobar Decl., ¶ 21; Rivas Decl., ¶ 21
   6        And folding switchblades can be even more difficult to use because they
   7   require an even more complicated multi-step, fine-motor-skill operation to reveal
   8   the blade of the knife. Escobar Decl., ¶ 24–28. This fine motor skill requires
   9   training and practice to be used in an actual, adrenalized self-defense scenario.
  10   Escobar Decl., ¶ 27. Bringing a folding switchblade to bear in a high-stress self-
  11   defense situation is difficult. Compare Escobar Decl., ¶ 26–27, with Ex. Janich 3,
  12   pp. 33.
  13        In short, a switchblade is a far cry from the “quintessential self-defense
  14   weapon” discussed in Heller and Bruen. It requires its users to be trained in close
  15   hand-to-hand combat, to be psychologically prepared to slash or stab in self-
  16   defense, and to use fine motor skills to deploy the blade.4 Because Plaintiffs cannot
  17   establish that switchblades are commonly used for self-defense, their claims fail at
  18   the threshold.
  19        B.   The Switchblade Knives Regulated by the Challenged Statutes
                 Are Dangerous and Unusual
  20
  21        In addition to being ill-suited for self-defense, the subset of switchblade knives
  22   that are regulated by the challenged statutes fall outside the scope of the Second
  23   Amendment for the separate reason that they are dangerous and unusual weapons.
  24   In Heller, the Supreme Court made clear that it did not intend to cast doubt on the
  25   constitutionality of longstanding prohibitions traditionally understood to be outside
  26   the scope of the Second Amendment. District of Columbia v. Heller, 554 U.S. 570,
  27         4
              For these reasons, militaries all over the world prefer fixed blade knives.
  28   Escobar Decl., p. 11.
                                                 9
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.150 Page 15 of 25



   1   626 (2008); see also Fyock v. Sunnyvale, 779 F.3d 991, 996–97 (9th Cir 2015). One
   2   such “historical tradition” is the prohibition on “dangerous and unusual weapons.”
   3   Heller, 554 U.S. at 627. Blackstone, a leading historical source cited by Heller on
   4   this point, elaborated on this tradition and explained that “[t]he offense of riding or
   5   going armed, with dangerous or unusual weapons, is a crime against the public
   6   peace . . . and is particularly prohibited.” 4 Blackstone, Commentaries on the Laws
   7   of England 148 (1769). A weapon qualifies as dangerous and unusual if it has some
   8   heightened “level of lethality or capacity for inquiry” that makes the weapon
   9   “especially dangerous.” Nat’l Ass’n for Gun Rights v. Lamont, __ F. Supp. 3d. __,
  10   2023 WL 4975979, at *16 (D. Conn. Aug. 3, 2023).
  11        Federal courts across the country have long recognized that switchblades are
  12   uniquely dangerous weapons that are not typically possessed for law-abiding
  13   purposes. See Crowlery Cutlery Co. v. U.S., 849 F.2d 273, 278 (7th Cir. 1988)
  14   (“Switchblade knives are more dangerous than regular knives because they are
  15   more readily concealable and hence more suitable for criminal use.”); Fall v. Esso
  16   Standard Oil Co., 297 F.2d 411, 416–17 (5th Cir. 1961) (“It is now well settled
  17   beyond a doubt that a switchblade knife is a dangerous weapon.”).5 Numerous
  18   Ninth Circuit cases confirm the relationship between such knives and criminal
  19   activity. See, e.g., Barrios v. Holder, 581 F.3d 849, 853 (9th Cir. 2009) (noting that
  20   in Guatemala a gang cut a person seeking immigration relief with a switchblade);
  21   U.S. v. Salcedo, 452 F.2d 1201 (9th Cir. 1971) (finding that a switchblade knife and
  22   a container of heroin found by a Border Control Agent supported a drug smuggling
  23   conviction); Craft v. U.S., 403 F.2d 360, 362 (9th Cir. 1968) (affirming conviction
  24         5
               The district court in Teter v. Connors similarly held that butterfly knives—
       like switchblades—are often associated with gang activity and present a danger to
  25   public safety. 459 F. Supp. 3d 989, 992–93 (D. Haw. 2020). The district court’s
       decision was reversed by a three-judge panel of the Ninth Circuit, which
  26   determined that whether a weapon is “dangerous and unusual” is an issue “as to
       which [the government] bears the burden of proof in the second prong of the Bruen
  27   analysis,” Teter v. Lopez, 76 F.4th 938, 949-50 (9th Cir. 2023). That opinion was
       vacated when the Ninth Circuit agreed to rehear the case en banc. Teter v. Lopez,
  28   2024 WL 719051, at *1 (9th Cir. Feb. 2, 2024).
                                                 10
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.151 Page 16 of 25



   1   for the illegal importation of marijuana and switchblades); U.S. v. Olloque, 580
   2   Fed. Appx. 584, 584 (9th Cir. 2014) (affirming conviction of possession and intent
   3   to distribute drugs noting that officers found a switchblade amongst drug
   4   paraphernalia). California courts have similarly recognized that switchblades are
   5   not typically possessed by law-abiding citizens for lawful purposes. See, e.g., In re
   6   S.C., 179 Cal. App. 4th 1436, 1441 (Cal. Ct. App. 2009) (“A switchblade carried on
   7   the person represents a constant threat to others, whether carried in public or in
   8   private. A switchblade carried at home, for example, is dangerous to family
   9   members and house guests during an argument.”). These cases provide additional
  10   evidence that the switchblade is uniquely dangerous, thus placing the proposed
  11   conduct outside the scope of the Second Amendment.
  12   II.    THE CHALLENGED STATUTES ARE CONSISTENT WITH THE NATION’S
              HISTORICAL TRADITION OF REGULATING SIMILAR WEAPONS
  13
  14          Even if Plaintiffs could establish that California’s statutory scheme implicates
  15   the plain text of the Second Amendment, their facial challenge would still fail at the
  16   second step of the Bruen analysis because the challenged statutes are consistent
  17   with the Nation’s historical tradition of regulating similar weapons. As noted
  18   above, the government need only identify a “well-established and representative
  19   historical analogue”—not a “historical twin” or “dead ringer”—to the challenged
  20   laws, which is “relevantly similar” in terms of “how and why the regulations
  21   burden a law-abiding citizen’s right to armed self-defense.” Bruen, 597 U.S. at 30.
  22          The regulation of weapons throughout U.S. history tends to follow a similar
  23   regulatory sequence: certain weapons become associated with criminality or threats
  24   to public order and safety after proliferating in society; and subsequently the
  25   government enacts a variety of restrictions on that particular weapon, while leaving
  26   a range of alternatives available to law-abiding citizens for self-defense. Spitzer
  27   Decl., ¶ 12, 60. This regulatory tradition includes historical precursors to modern-
  28   day switchblade regulations, including regulations of the Bowie knife and other
                                                  11
             Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.152 Page 17 of 25



   1   dangerous weapons. Here, Defendant has identified 136 historical laws from 49
   2   states and the District of Columbia regulating Bowie knives, and even more laws
   3   regulating the use of dangerous weapons through carry restrictions and taxes.
   4   Spitzer Decl., Ex. C; see also Spitzer Decl., ¶ 43–44, Ex. B, C, D; Rivas Decl., Ex.
   5   2–47.
   6        A.     The Challenged Statutes Fit Comfortably Within a Long
                   Tradition of Regulating of Bowie Knives, Impact Weapons, and
   7               Other Dangerous and Deadly Weapons
   8        In the nineteenth century, it became more common for Americans to publicly
   9   carry and use a variety of deadly weapons, such as Bowie knives, dirks, and pocket
  10   pistols.6 Rivas Decl., ¶ 4. Rates of homicide and the lethality of weapons rose
  11   together, and as deadly weapons became more prevalent in public spaces,
  12   lawmakers responded by regulating these weapons. Rivas Decl., ¶ 12. Such laws
  13   were enacted based on the prevailing view of the time that a person who carried a
  14   deadly weapon was likely to be a ruffian, burglar, or assassin—a person
  15   predisposed to settle personal disagreements by blood rather than law. Rivas Decl.,
  16   ¶ 12; see also Spitzer Decl., ¶. 39
  17        Of those weapons, no other weapon serves as a better analogy to the types of
  18   switchblade knives that California currently regulates than the Bowie knife. In the
  19   antebellum era, the Bowie knife became one of the most widely regulated weapons.
  20   The Bowie knife was a large, single-edged knife infamously used by Jim Bowie to
  21   kill a man in a duel in 1827. Spitzer Decl., ¶ 34; see also Rivas Decl., ¶ 18. The
  22   story of Jim Bowie and the mythology related to his story led to the proliferation of
  23   the knife. 7 Spitzer Decl., ¶ 35; Rivas Decl., ¶ 19. The knife’s distinctive features,
  24           6
                While the majority of this brief focuses on the Bowie knife, other fighting
  25   knives, like the dirk and dagger, also proliferated during this period. Rivas Decl.,
       ¶ 14–16. These fighting knives were often addressed alongside Bowie knives in
  26   historical laws. See generally Spitzer Decl., Ex. D.
  27
              7
                This is not unlike the switchblade itself, which experienced heightened
       popularity following its prevalence in pop culture and the media in the 1950s and
  28
                                                  12
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.153 Page 18 of 25



   1   along with Bowie’s death at the Alamo in 1836, led to widespread interest in and
   2   proliferation of the knife. Spitzer Decl., ¶ 35; Rivas Decl., ¶ 15.
   3          Featuring a long, thin blade, the Bowie knife was designed for interpersonal
   4   fighting in a time when single-shot pistols were unreliable and inaccurate. Spitzer
   5   Decl., ¶ 36. The exact details of the original bowie knife are unknown, but versions
   6   of the knife became more standardized over time. Rivas Decl., ¶ 18. For example,
   7   some folding Bowie knives existed. Rivas Decl., ¶ 22. However over time, the
   8   Bowie knife came to generally be recognized as a large, eight to twelve-inch knife
   9   with a clipped blade—one with a sharpened swedge making it more lethal, with the
  10   point generally aligned with the handle. Rivas Decl., ¶ 18. The knife was widely
  11   used in fights and duels, even though this practice was widely disfavored. Spitzer
  12   Decl., ¶ 36–37.
  13          The public safety concerns surrounding Bowie knives and other thin long-
  14   bladed knives were ubiquitous. Spitzer Decl., ¶ 43. Accordingly, states enacted a
  15   variety of restrictions on the Bowie knife throughout the nineteenth century,
  16   including open and concealed carry prohibitions and criminal penalty
  17   enhancements, and imposed taxes on individuals and dealers. Spitzer Decl., ¶ 45–
  18   46.
  19          Most states regulated Bowie knives by enacting carry restrictions. Fifteen
  20   states banned both open and concealed carry of Bowie knives. Spitzer Decl., ¶ 46.
  21   Twenty-nine states enacted laws barring concealed carry of Bowie knives. Spitzer
  22   Decl., ¶ 46. In addition, seven states enhanced the criminal penalties for those who
  23   used Bowie knives to commit a crime. Spitzer Decl., ¶ 46.8
  24
  25
       1960s. Spitzer Decl., ¶ 15.
  26          8
                From the beginning of the twentieth century, forty-nine states plus the
       District of Columbia restricted Bowie knives. Spitzer Decl., ¶ 43. Forty-one states
  27   and the District of Columbia barred or restricted Bowie knives by name. Id. The
       other eight states enacted laws restricting the category or type of knife that was
  28   embodied by the Bowie knife, but did not mention them by name. Id.
                                                  13
             Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.154 Page 19 of 25



   1        Some states prohibited the sale of certain kinds of knives altogether. Rivas
   2   Decl., ¶ 32. Tennessee enacted a law in 1838 criminalizing “any merchant, pedlar,
   3   jeweller, confectioner, grocery keeper, or other person or persons whatsoever” who
   4   “shall sell or offer to sell, or shall bring into this State, for the purpose of selling,
   5   giving, or disposing of in any manner whatsoever any Bowie knife or knives, or
   6   Arkansas tooth picks, or any knife or weapon that shall in form, shape or size
   7   resemble a Bowie knife or Arkansas tooth pick.” Rivas Decl., ¶ 32 (quoting Ex. 7.)
   8        Such regulations—if they were ever challenged—withstood judicial scrutiny.
   9   In Aymette v. State, 21 Tenn. 152, 153 (Tenn. 1840), for example, the Supreme
  10   Court of Tennessee upheld a conviction for the concealed carry of a Bowie knife.
  11   The Court recognized that the prohibition against wearing the Bowie knife was
  12   justified because such knives were “usually employed in private broils, and [] are
  13   efficient only in the hands of the robber and the assassin.” Id; see also Spitzer
  14   Decl., ¶ 39. Similarly, in Haynes v. Tennessee, the Tennessee Supreme Court
  15   upheld a conviction for the concealed carry of a Bowie knife. The Court recognized
  16   that the statute was designed “to prohibit the wearing of bowie knives and others of
  17   a similar description, which the experience of the country had proven to be
  18   extremely dangerous and destructive to human life.” 24 Tenn. 120 (Tenn. 1844);
  19   see also Spitzer Decl., ¶ 40.
  20        Some states also enacted laws taxing the possession and sale of dangerous
  21   weapons to discourage their use. Rivas Decl., ¶ 29. At least three states—Alabama,
  22   North Carolina, and Mississippi—taxed the personal possession of certain weapons,
  23   including large fighting knives like dirks and Bowie knives. Rivas Decl., ¶ 29; see
  24   also id., Ex. 11 at 24–29. The rates of these taxes were often so high as to be
  25   prohibitive. Id. ¶ 29. In the late-nineteenth century, some municipalities also
  26   imposed personal taxes on the value of residents’ dirks and Bowie knives. Id. ¶ 30.
  27        In addition, some states imposed prohibitive occupation taxes upon dealers to
  28   discourage the sale and use of deadly weapons. Through revenue bills that were
                                                    14
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.155 Page 20 of 25



   1   reenacted year after year, Alabama, Georgia, and Mississippi taxed dealers of
   2   deadly weapons. Rivas Decl., ¶ 31. In Georgia, for example, dealers of pistols, toy
   3   pistols, shooting cartridges, dirks, and Bowie knives were taxed $100 a year in
   4   1884, 1886, 1888, 1890, 1892, and 1894. Id. 9
   5        The challenged statutes are also relevantly similar to laws regulating clubs and
   6   other impact weapons that date back to the Founding era. Throughout our nation’s
   7   history, there is a robust tradition of regulating clubs and other impact weapons,
   8   such as bludgeons, billy clubs, slungshots, and sandbags. See Spitzer Decl., Ex. C-
   9   D. Like knives, these other impact weapons date back to ancient times. Id., ¶ 51.
  10   These weapons were used to strike others and were associated closely with criminal
  11   use. Id. Consequently, they were ubiquitously regulated by state governments,
  12   which enacted laws primarily regulating their carry. Id. Every state in the nation
  13   had laws restricting one or more types of club weapons. Id.
  14        The earliest known law that broadly regulated “clubs” dates back to 1664.
  15   Spitzer Decl., ¶ 54. Seven states—New York (1664), Massachusetts (1750), Maine
  16   (1786), Virginia (1792), Delaware (1797), Kentucky (1798), Mississippi (1799)—
  17   enacted these laws in the seventeenth and eighteenth centuries. Id., Ex. C. Six
  18   states—Alabama (1805), Arkansas (1835), Indiana (1804, 1855, 1881), Mississippi
  19   (1804), Missouri (1818), Texas (1889)—enacted laws regulating clubs in the
  20   nineteenth century. Id. Two states—Indiana (1905) and Missouri (1923)—regulated
  21   clubs in the early twentieth century. Id.
  22        In addition to laws regulating clubs generally, states also enacted laws
  23   specifically regulating the billy club, a heavy, hand-held rigid club made of wood,
  24   plastic or metal. Spitzer Decl., ¶ 53. At least sixteen states had laws regulating billy
  25         9
               While the aforementioned laws focus on Bowie knives, these laws often
       also addressed other concealable weapons considered dangerous at the time,
  26   including pocket pistols, dirks, daggers, saps, slungshots, and other large knives.
       Spitzer Decl., ¶ 42–43; Rivas Decl., ¶ 27; see also Spitzer Decl., Ex. D. The
  27   concealability of these weapons is distinct from rifles, muskets, and shotguns,
       which were carried openly and not likely to be used in the commission of crimes.
  28   Rivas Decl., ¶ 11.
                                                   15
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.156 Page 21 of 25



   1   clubs, the earliest of which dates back to a Kansas law enacted in 1862. Id.; see also
   2   id., Ex. C. Together, these sixteen states enacted a total of forty-six separate billy
   3   club laws over the years. Id. Eleven states enacted similar laws in the early
   4   twentieth century. Id.
   5        States also enacted laws regulating the bludgeon, a short stick with a thickened
   6   or weighted end. Spitzer Decl., ¶ 52. The earliest known law regulating bludgeons
   7   dates back to 1799 in New Jersey. Id. Twelve states enacted similar laws in the
   8   eighteenth and nineteenth centuries. Id.; see also id., Ex. C. Four states—Michigan
   9   (1927, 1929), New Jersey (1927), New York (1911, 1913, 1931), North Dakota
  10   (1915)—regulated bludgeons in the early twentieth century. Id.
  11        Similarly, states regulated the slungshot, also known as a “blackjack,” which
  12   is a hand-held weapon for striking that has a piece of metal or stone at one end
  13   attached to a flexible strap or handle. Spitzer Decl., ¶ 55. The earliest known law
  14   regulating slungshots was enacted in 1850. Id., ¶ 57. Forty-three states enacted a
  15   total of seventy-one laws in the nineteenth century, and a total of twelve in the
  16   twentieth century, regulating slungshots. Id., ¶ 55; see also id., Ex. C-D.
  17        States also regulated sandbags—also known as “sand clubs”—which consisted
  18   of sand poured into a bag, sack, sock, or similar tube-shaped fabric. Spitzer Decl., ¶
  19   58. The earliest known law regulating sandbag use was enacted in 1866. Id. Ten
  20   states enacted fourteen similar laws—seven laws in the nineteenth century, and
  21   seven laws in the early twentieth century. Id., ¶ 55; see also id., Ex. C-D.
  22        Only four states did not specifically regulate any of these five specific impact
  23   weapons (clubs, billy clubs, bludgeons, slungshots, and sand bags) by name. Spitzer
  24   Decl., ¶ 59. But in three of those states, such specific laws would have been
  25   redundant because they had broad laws against the carrying of any concealed,
  26   dangerous, or deadly weapon. Id.
  27
  28
                                                  16
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.157 Page 22 of 25



   1        The challenged statutes fit comfortably within this long and unbroken tradition
   2   of regulating Bowie knives, impact weapons, and other dangerous and deadly
   3   weapons.
   4        B.    The Surveyed Restrictions Are Relevantly Similar to
                  California’s Switchblade Restrictions
   5
   6        The surveyed Bowie knife, impact weapon, and dangerous and deadly weapon
   7   restrictions enacted from the nineteenth century are relevantly similar to
   8   California’s switchblade restrictions in light of their comparable burdens and
   9   justifications. See Bruen, 597 U.S. at 29 (modern regulation must “impose a
  10   comparable burden on the right of armed self-defense” that is “comparatively
  11   justified”). Indeed, many of the historical laws regulating Bowie knives and other
  12   dangerous weapons were actually significantly more burdensome than California’s
  13   switchblade restrictions.
  14        First, California’s statutory scheme regulates only a subset of switchblade
  15   knives—namely, those with blades two inches or longer and without a detent or
  16   other similar mechanism. In contrast, many of the historical analogues identified
  17   herein were far broader in scope and made no exceptions for particular types of
  18   knives—in many cases, these laws regulated all concealed knives and deadly
  19   weapons generally. 10 See generally Spitzer Decl., Ex. D. As two examples of this
  20   breadth, Louisiana prohibited “any concealed weapon, such as a dirk, dagger, knife,
  21   pistol, or any other deadly weapon.” Rivas, Decl., ¶ 28 (citing Rivas Ex. 16, 1813
  22   La., ch. 5). Similarly, St. Louis, Missouri made it unlawful to conceal “any pistol,
  23   or revolver, colt, billy, slung shot, cross knuckles, or knuckles of lead, brass or
  24   other metal, bowie knife, razor, dirk knife, dirk, dagger, or any knife resembling a
  25   bowie knife, or any other dangerous or deadly weapon.” Spitzer Decl., Ex. D, pp.
  26
  27
             10
               There were many different styles and names of knives, such that
       Americans sometimes struggled to distinguish them. These definitions could also
  28   change geographically and over time. Rivas Decl., ¶ 14.
                                                  17
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.158 Page 23 of 25



   1   49–50 (quoting Ordinances of the City of St. Louis, Misdemeanors, §§ 9–10,
   2   emphasis added). An 1886 law journal emphasized that the breadth of the catch-all
   3   phrase “other deadly weapon” implied “similarity in the deadly character of
   4   weapons, such as can be conveniently concealed about one’s person, to be used as a
   5   weapon of offence or defense.” Rivas Decl., ¶ 13 (citing Rivas Decl., Ex. 6).
   6        Second, the Bowie knife, impact weapon, and dangerous and deadly weapons
   7   restrictions were especially burdensome in an era where the single-shot pistol—the
   8   precursor to the quintessential self-defense weapon—was unreliable, inaccurate,
   9   and widely disfavored. 11 Rifles, muskets, and shotguns were primarily used for
  10   militia service and hunting, Rivas Decl., ¶ 11, while large knives and other deadly
  11   weapons were more reliable self-defense weapons. Rivas, Decl. ¶ 12.12 Here,
  12   California’s law leaves a range of weapons available for lawful self-defense,
  13   including handguns.
  14        The modest burdens imposed by California’s switchblade laws and its
  15   analogues are comparably justified by pressing public-safety concerns. In response
  16   to a rise in crime and public concern, forty-nine states and the District of Columbia
  17   enacted laws restricting the Bowie knife. Spitzer Decl., ¶ 43–44; Rivas Decl., ¶ 12.
  18   Here, for similar reasons, forty states, including California, and the federal
  19   government enacted laws restricting switchblades. One California court observed
  20   that “the dramatic rise in switchblade crimes nationwide, as noted in the
  21   Congressional reports and hearings, must also have been evident to the California
  22   Legislature when it passed [Penal Code sections 17235 and 21510].” People ex rel.
  23         11
                 Handguns were single-shot devices and largely unreliable. In contrast,
  24   fighting knives, like the Bowie knife, worked in wet and dry conditions and did not
  25   need to be reloaded. Rivas Decl., ¶ 14.
              12
                 Recognizing that dangerous weapons primarily were used for crime but
  26   could sometimes be used for self-defense, some historical laws included exceptions
  27   for when the weapons were used for self-defense. See, e.g., Spitzer Decl., Ex. D
       (Oregon 1898; Plainfield, New Jersey, 1895; West Virginia 1891; Montana, 1885;
  28   West Virginia 1882; Arizona, 1871; California, 1861; Mississippi, 1840).
                                                 18
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.159 Page 24 of 25



   1   Mautner v. Quattrone, 211 Cal. App. 3d 1389, 1396 (Cal. Ct. App. 1989) (citing
   2   Sen. Rep. No. 1980, 85th Cong., 1st Sess., and H.R. No. 9820, H.R. No. 10618,
   3   H.R. No. 111289, 85th Cong., 2d Sess., pp. 1–33 (1958) [bills of the Federal
   4   Switchblade Act].) Indeed, in a study of historical newspapers available online,
   5   news stories referencing switchblades and switchblade crimes were relatively low
   6   up until 1945, Spitzer Decl., ¶ 21–25, but after 1945, such stories rose
   7   precipitously. Spitzer Decl., ¶ 21–22.13 This was particularly true after 1950 and
   8   persisting throughout the decade. Spitzer Decl., ¶ 21–22. California’s switchblade
   9   restrictions—like its historical predecessors—were thus enacted in response to an
  10   increase in the use of such weapons in criminal activity.
  11                                     CONCLUSION
  12        This Court should enter summary judgment in favor of Defendant.
  13
  14   Dated: March 6, 2024                           Respectfully submitted,
  15                                                  ROB BONTA
                                                      Attorney General of California
  16                                                  R. MATTHEW WISE
                                                      Supervising Deputy Attorney General
  17                                                  JANE REILLEY
                                                      Deputy Attorney General
  18
  19
  20                                                  /s/ Katrina Uyehara_____
                                                      KATRINA UYEHARA
  21                                                  Deputy Attorney General
                                                      Attorneys for Defendant Rob Bonta,
  22                                                  Attorney General of the State of
                                                      California
  23
  24
  25
  26
  27         13
                Since police and court conviction records from the 1950s are largely
       inaccessible, historical newspapers are the best record to derive an estimate of
  28   switchblade crime. Spitzer Decl., ¶ 15–16, 21; see also Ex. Hardy 4, pp. 72–73.
                                                 19
           Defendant’s Mem. of P’s & A’s ISO Summary Judgment Motion (3:23-cv-00474-JES-DDL)
Case 3:23-cv-00474-JES-DDL Document 33-1 Filed 03/06/24 PageID.160 Page 25 of 25




                                       CERTIFICATE OF SERVICE

   Case Name:          Knife Rights, Inc., et al. v.         No.    3:23-cv-00474-JES-DDL
                       California Attorney General
                       Rob Bonta, et al.

   I hereby certify that on March 6, 2024, I electronically filed the following documents with the
   Clerk of the Court by using the CM/ECF system:
   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT
   ATTORNEY GENERAL ROB BONTA'S MOTION FOR SUMMARY JUDGMENT
   I certify that all participants in the case are registered CM/ECF users and that service will be
   accomplished by the CM/ECF system.
   I declare under penalty of perjury under the laws of the State of California and the United States
   of America the foregoing is true and correct and that this declaration was executed on March 6,
   2024, at Sacramento, California.



                     Eileen A. Ennis
                        Declarant                      ,                Signature

   SA202330 14 19
   3 7919382. docx
